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                                                        - 202 -
                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                         MAHLENDORF v. MAHLENDORF
                                              Cite as 308 Neb. 202



                         Jennifer Mahlendorf, now known as Jennifer
                             Rasmussen‑Sagan, appellant, v. Brian
                                    Mahlendorf, appellee.
                                                   ___ N.W.2d ___

                                        Filed January 15, 2021.   No. S-20-257.

                 1. Judgments: Appeal and Error. Ordinarily, a party may not assign error
                    on appeal to a judgment entered by consent.
                 2. Judgments: Words and Phrases. A consent judgment constitutes the
                    agreement of the parties, made a matter of record by the court at their
                    request. A consent judgment is not, strictly speaking, the act of a court,
                    but, rather, the act of the parties to the suit.
                 3. Judgments: Appeal and Error. It is a generally accepted rule that,
                    ordinarily, a consent judgment is not subject to appellate review. This
                    should not be understood as a jurisdictional limitation, but, rather, as
                    a rule limiting the scope of appellate review to those matters actually
                    submitted to and determined by the court.
                 4. ____: ____. A party is not entitled to prosecute error upon the granting
                    of an order or the rendition of a judgment when the same was made with
                    his or her consent, or upon his or her application.
                 5. Appeal and Error. On appeal, a party cannot complain of error which
                    the party has invited the court to commit.

                 Appeal from the District Court for Douglas County: Leigh
               Ann Retelsdorf, Judge. Affirmed.
                    Angela Dunne, of Koenig Dunne, P.C., L.L.O., for appellant.
                    Nancy R. Shannon, of Cordell Law, L.L.P., for appellee.
                 Heavican, C.J., Miller‑Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  MAHLENDORF v. MAHLENDORF
                       Cite as 308 Neb. 202
   Stacy, J.
   This is an appeal from an order of modification entered in
a dissolution action. Because the order of modification reflects
the negotiated agreement of the parties and was entered at their
request, we affirm.
                           I. FACTS
                   1. Dissolution Decree
  The marriage of Jennifer Mahlendorf and Brian Mahlendorf
was dissolved by the district court for Douglas County in
2010. The decree approved and incorporated a parenting plan
negotiated by the parties. Jennifer was awarded sole legal and
physical custody of the parties’ two minor children, and Brian
was awarded specific parenting time. Brian was ordered to pay
monthly child support.
                     2. 2013 Modification
   The decree was modified in 2013 to permit Jennifer to
remove the children from Nebraska and relocate to Tennessee.
The 2013 modification order approved and incorporated an
amended parenting plan, negotiated by the parties, which
addressed issues of child support, parenting time, and travel
expenses. Under that plan, Brian was awarded 2 weeks of par-
enting time in Tennessee and 8 consecutive weeks of parenting
time in Nebraska during summer break. The parties also agreed
to a downward deviation in Brian’s monthly child support. The
court approved the downward deviation, finding it was in the
children’s best interests because “[Brian] will incur substantial
travel expenses to travel to Tennessee to visit the minor chil-
dren [and the downward] deviation also takes into consider-
ation the abatement in child support for the extended summer
parenting time exercised by [Brian].”
                  3. 2016 Modification
  In March 2016, Jennifer filed a complaint to modify both
child support and parenting time. She alleged there had
been a material change in circumstances which justified
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  MAHLENDORF v. MAHLENDORF
                       Cite as 308 Neb. 202
eliminating the downward deviation, because Brian had not
traveled to Tennessee to visit the children and thus had incurred
no travel expenses. She also alleged the children’s increased
participation in extracurricular activities supported a modifica-
tion of Brian’s summer parenting time.
   The parties subsequently reached an agreement on these
issues, and in June 2016, the district court entered a “Stipulated
Order of Modification.” That order approved the parties’ agree-
ment, which increased the amount of Brian’s monthly child
support obligation but continued the existing downward devia-
tion. The stated justifications for continuing the downward
deviation were the “anticipated travel expenses [Brian] may
incur to travel to Tennessee to visit the minor children” and
“the abatement in child support for [Brian’s] extended summer
parenting time with the minor children.” The court approved
the downward deviation, finding it was justified and in the
children’s best interests.

                   4. Current Modification
   In 2019, Jennifer filed the complaint to modify, which is
the subject of this appeal. Her operative amended complaint
alleged there had been a material change in circumstances not
anticipated by the parties at the time of the 2016 modification,
which warranted a modification of Brian’s child support obli-
gation. Specifically, she requested that the downward deviation
in child support be eliminated because Brian had not visited
the children in Tennessee and thus had not incurred any travel
expenses. She also alleged a material change in circumstances
had occurred because the income of both parties had increased
since the 2016 modification.
   Brian’s answer alleged there had been no material change
in circumstances with respect to his travel expenses because
the parties had addressed the issue in 2016 and agreed to con-
tinue the deviation for travel expenses he “may” incur. In other
words, Brian contended the parties contemplated in 2016 that
he may not actually incur the travel expenses in the future,
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             Nebraska Supreme Court Advance Sheets
                      308 Nebraska Reports
                      MAHLENDORF v. MAHLENDORF
                           Cite as 308 Neb. 202
but nevertheless agreed to continue the deviation. 1 Brian also
filed an application for an order to show cause as to why
Jennifer should not be held in contempt for violating certain
provisions of the 2016 order.

                             (a) Trial
   A 2‑day bench trial was scheduled on Jennifer’s complaint
to modify and Brian’s application to show cause. On the
first day of trial, both parties appeared and were represented
by counsel.
   At the end of the first day, the parties invited the court
to comment on the evidence adduced thus far. Among other
things, the court commented on the request to eliminate the
downward deviation, expressing skepticism about whether the
evidence supported a material change in circumstances since
the last modification. But the court also assured the parties that
it had not prejudged the issue and would keep an open mind
until all the evidence was submitted and the parties had rested.
The court encouraged the parties to resolve the disputed issues
if they were able.
   Our bill of exceptions includes only the first day of trial and
contains a notation that no record was made of the second day
of trial. At oral argument before this court, the parties con-
firmed that the second day of trial did not occur, because they
reached an agreement resolving all disputed matters.

                   (b) 2020 Modification Order
   On February 27, 2020, the court entered an order of modi-
fication reflecting the agreement of the parties. The order indi-
cates it was prepared by Jennifer’s attorney and was approved
as to form by Brian’s attorney.
1
    See, e.g., Hotz v. Hotz, 301 Neb. 102, 917 N.W.2d 467 (2018) (party seeking
    to modify child support must show material change in circumstances that
    occurred after entry of original decree or previous modification and was
    not contemplated when decree or previous modification was entered).
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            Nebraska Supreme Court Advance Sheets
                     308 Nebraska Reports
                     MAHLENDORF v. MAHLENDORF
                          Cite as 308 Neb. 202
   The order recites that “[p]rior to final submission of evi-
dence, the parties reached an agreement.” As relevant to the
issues on appeal, the modification order provided that “no
change shall be made in the downward deviation to child
support,” but it modified the amount of Brian’s child support
using the current incomes of both parties and considering after-
born children.
   After the order of modification was entered, Jennifer filed
this timely appeal, which we moved to our docket on our
own motion.
                 II. ASSIGNMENT OF ERROR
   Jennifer assigns that the “trial court erred when it deter-
mined Brian was still entitled to a downward deviation in his
child support obligation to account for travel expenses incurred
by him to exercise parenting time when the evidence shows
that [he] is not incurring any travel expenses.”
                III. STANDARD OF REVIEW
   [1] Ordinarily, a party may not assign error on appeal to a
judgment entered by consent. 2
                        IV. ANALYSIS
   Jennifer’s argument on appeal is limited to challenging what
she characterizes as the trial court’s erroneous determination
that the downward deviation in Brian’s child support could not
be modified. Before reaching her assignment of error, we con-
sider whether she has fairly characterized the order from which
she appeals.
            1. Appeals From Consent Judgments
   [2] A consent judgment constitutes the agreement of
the parties, made a matter of record by the court at their
2
    See Smith v. Lincoln Meadows Homeowners Assn., 267 Neb. 849, 678
    N.W.2d 726 (2004). Accord, McArthur v. Thompson, 140 Neb. 408, 299
    N.W. 519 (1941); Annot., Right to Appellate Review of Consent Judgment,
    69 A.L.R. 2d 755 § 4[a] (1960) (and cases summarized in Supp. 2020).
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            Nebraska Supreme Court Advance Sheets
                     308 Nebraska Reports
                      MAHLENDORF v. MAHLENDORF
                           Cite as 308 Neb. 202
request. 3 A consent judgment is not, “‘strictly speaking, the act
of a court, but rather the act of the parties to the suit.’” 4 We
have explained:
         “The fact that a judgment is rendered by consent gives
      it neither less nor greater force or effect than it would
      have had had it been rendered after protracted litigation,
      except to the extent that the consent excuses error and
      operates to end all controversy between the parties. In this
      connection, it has been declared that a judgment by con-
      sent estops the parties from denying the facts it purports
      to establish. . . .” 5
Similarly, the U.S. Supreme Court has explained:
         “Consent decrees are entered into by parties to a case
      after careful negotiation has produced agreement on
      their precise terms. The parties waive their right to liti-
      gate the issues involved in the case and thus save them-
      selves the time, expense, and inevitable risk of litigation.
      Naturally, the agreement reached normally embodies
      a compromise; in exchange for the saving of cost and
      elimination of risk, the parties each give up something
      they might have won had they proceeded with the litiga-
      tion. . . .” 6
   [3] Given the nature of consent judgments, most courts,
including Nebraska, follow the generally accepted rule that,
ordinarily, a consent judgment is not subject to appellate
review. 7 This should not be understood as a jurisdictional
limitation, but, rather, as a rule limiting the scope of appellate
3
    McArthur, supra note 2.
4
    Id. at 417, 299 N.W. at 523.
5
    Id. at 420, 299 N.W. at 525.
6
    Firefighters v. Cleveland, 478 U.S. 501, 522, 106 S. Ct. 3063, 92 L. Ed.
    2d 405 (1986), quoting United States v. Armour &amp; Co., 402 U.S. 673, 91
    S. Ct. 1752, 29 L. Ed. 2d 256 (1971).
7
    See 69 A.L.R.2d, supra note 2, § 5.
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             Nebraska Supreme Court Advance Sheets
                      308 Nebraska Reports
                      MAHLENDORF v. MAHLENDORF
                           Cite as 308 Neb. 202
review to those matters actually submitted to and determined
by the court. 8
   [4,5] The rule as articulated by this court is that a party is
not entitled to prosecute error upon the granting of an order
or the rendition of a judgment when the same was made with
his or her consent, or upon his or her application. 9 Similarly,
Nebraska follows the rule that on appeal, a party cannot com-
plain of error which the party has invited the court to commit. 10
We are persuaded that both of these rules support an affirmance
in this appeal.
   After the first day of trial, but before the evidence was con-
cluded or the matters submitted for decision, the parties invited
the court to share its general impression on the disputed issues.
The trial court obliged and expressed skepticism about whether
the evidence supported a material change in circumstances
regarding the downward deviation in child support. 11 But the
court made clear that it had not prejudged the issue and would
keep an open mind until all matters were finally submitted.
After this discussion, the parties left and did not return for the
second day of trial.
   Instead, apparently anticipating that the court would decline
to modify the downward deviation, the parties chose to nego-
tiate a mutually acceptable increase to Brian’s child support
which continued the existing downward deviation. Both par-
ties were represented by counsel in those negotiations, and our
record does not suggest the parties left any disputed issue for
the court to determine. The parties confirmed as much at oral
argument before this court.
 8
     See Weander v. Johnson, 42 Neb. 117, 60 N.W. 353 (1894) (holding party
     who consents to judgment will not be heard to urge error in proceedings
     leading to it).
 9
     Smith, supra note 2; McArthur, supra note 2.
10
     E.g., In re Estate of Karmazin, 299 Neb. 315, 908 N.W.2d 381 (2018).
11
     See Hotz, supra note 1.
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             Nebraska Supreme Court Advance Sheets
                      308 Nebraska Reports
                       MAHLENDORF v. MAHLENDORF
                            Cite as 308 Neb. 202
   The district court approved the parties’ negotiated settle-
ment agreement and entered an order which, in all respects,
modified the decree in accordance with that agreement. On this
record, the disputed issues were never submitted to the court
for determination, and the provisions of the order of modifica-
tion reflect the negotiated agreement of the parties. Of course,
the court was not bound by the parties’ agreement to the extent
it pertained to the custody or support of minor children, 12 but
Jennifer does not argue on appeal that the court erred in accept-
ing the parties’ agreement and finding it to be in the best inter-
ests of the children.
   Because the disputed issues were not ultimately submitted to
the court, the 2020 order of modification cannot fairly be char-
acterized as the court’s independent rulings on disputed issues.
Instead, the order of modification approved the parties’ agree-
ment on the disputed issues and was, in all respects, a consent
judgment entered at the request of the parties.

                      V. CONCLUSION
   Jennifer is not entitled to assign error to a consent judg-
ment which reflects her negotiated agreement and which was
entered at her request. 13 The judgment of the district court
is affirmed.
                                                   Affirmed.
12
     See, Neb. Rev. Stat. § 42-366 (Reissue 2016); Neb. Ct. R. § 4-203 (2020)
     (requiring all stipulated agreements for child support to be reviewed
     against guidelines and stating any deviations therefrom must be approved
     by court in light of best interests of child).
13
     See, Smith, supra note 2; McArthur, supra note 2; Weander, supra note 8.
